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                                          U.S. Department of Justice

                                                       United States Attorney
                                                       Southern District of New York
                                                       The Silvio J. Mollo Building
                                                       One Saint Andrew’s Plaza
                                                       New York, New York 10007



                                                       July 12, 2019

VIA ECF

The Honorable Richard M. Berman
United States District Court
Southern District of New York
United States Courthouse
500 Pearl Street
New York, New York 10007

       Re:     United States v. Jeffrey Epstein, 19 Cr. 490 (RMB)

Dear Judge Berman:

        The Government respectfully submits this letter in response to the defendant’s Motion for
Pretrial Release (the “Release Motion”), dated July 11, 2019 (Dkt. 6), and in further support of its
Memorandum in Support of Detention (the “Detention Memo”), submitted to Magistrate Judge
Pitman on July 8, 2019, which is attached hereto and incorporated herein (Ex. A).

                                 PRELIMINARY STATEMENT

        The defendant is a serial sexual predator who is charged with abusing underage girls for
years. A grand jury has returned an indictment alleging that he sexually exploited dozens of
minors, including girls as young as 14 years old, in New York and Florida. To this day, he is a
registered sex offender designated by New York State in the highest category of risk to reoffend,
despite unsuccessfully attempting to have that classification lowered. And any doubt that the
defendant is unrepentant and unreformed was eliminated when law enforcement agents discovered
hundreds or thousands of nude and seminude photographs of young females in his Manhattan
mansion on the night of his arrest, more than a decade after he was first convicted of a sex crime
involving a juvenile.

        The defendant also faces substantial evidence of his guilt, founded on the corroborated
testimony of numerous victims, and this case presents the very real possibility that he will go to
prison for the rest of his life. The defendant has at his disposal a vast fortune, the details of which
remain largely concealed from the Court. He also has a history of obstruction and manipulation
of witnesses, including, as detailed herein, as recently as within the past year, when media reports
about his conduct reemerged. And he continues to show a shocking lack of understanding of the
gravity of the harm he has perpetrated, including through the minimization of his conduct and
casual disparagement of victims in his arguments.

        Against this backdrop of significant—and rapidly-expanding—evidence, serious charges,
and the prospect of a lengthy prison sentence, the defendant proposes to be released on conditions
that are woefully inadequate. The Release Motion misconstrues and misunderstands the relevant
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law, seeks to diminish and demean the harm caused to the many victims of the defendant’s
appalling sexual abuse, and utterly fails to meet its burden of rebutting the presumption that no
condition or combination of conditions will reasonably assure the appearance of the defendant as
required and the safety of the community. Rather than even attempting to address the grave risks
of releasing a defendant with extraordinary financial resources and a history of abusing minors,
the defendant instead proposes a bail package that amounts to little more than a barely-secured
bond masquerading as a 14-point plan. The Court should reject the defendant’s application and
order him detained pending trial.

        Among other things, the proposed bail package contemplates the defendant pledging as the
principal security a property that has already been identified by the Government as subject to
forfeiture upon the defendant’s conviction, and which therefore is of no value as collateral. His
proposed global waiver of extradition is unenforceable, and even if enforceable would be little
comfort to victims forced to wait additional years while the defendant is located and returned to
this country. The promise to “deregister or otherwise ground” his private jet is meaningless given
his wealth and ability to easily secure other means of travel. The two co-signers he proposes only
further highlight his minimal community ties, including his lack of any family in or near the
District. Electronic monitoring would merely give the defendant less of a head start in fleeing—
and does not guard against the risk of him endangering victims in the very home where he has
continued to hoard nude images of young women and girls. And the private security force he
proposes to guard his gilded cage, a proposal already rejected by this Court in similar
circumstances, simply reinforces the obvious fact that the defendant should be housed where he
can be secured at all times: a federal correctional center.

        The defendant faces a presumption of detention, Pretrial Services has recommended
detention, and victims of the defendant seek his detention. Because there are no set of conditions
short of incarceration that can reasonably assure the appearance of the defendant or reasonably
protect the community from the dangers he poses if released, the Court should order him detained.

                                        BACKGROUND

       As previously set forth, a federal grand jury in this District returned an indictment (the
“Indictment”) charging the defendant with violating Title 18, United States Code Section 1519,
and conspiracy to commit the same.

        As charged by the grand jury, the facts giving rise to those counts involve a years-long
scheme to sexually abuse underage girls. Specifically, the defendant enticed and recruited dozens
of minor girls to engage in sex acts with him, for which he paid the victims hundreds of dollars in
cash, in at least two different states. Victims were initially recruited to provide “massages” to the
defendant, which would be performed nude or partially nude, would become increasingly sexual
in nature, and would typically include one or more sex acts, including groping and direct or indirect
contact with victims’ genitals. To perpetuate this exploitation of underage girls, the defendant
actively encouraged certain victims to recruit additional girls to be similarly sexually abused. He
paid these victim-recruiters hundreds of dollars for each additional girl they brought to him,
creating a network of underage victims for him to exploit in New York and Palm Beach.
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        The defendant, through counsel, continues to evidence a complete lack of appreciation for
the gravity of the offenses with which he is charged.1 As an initial matter, there can be no plausible
suggestion that the allegations against the defendant involve isolated or aberrational conduct; they
involve repeated, regular acts of sexual abuse committed over a period of many years. And
following the defendant’s prior conviction, as described previously by the Government, the
defendant continued to maintain at least hundreds and possibly thousands of nude photos of young
subjects. The defendant’s victims in this case, often particularly vulnerable girls, were as young
as 14 years old when he abused them. The defendant knew he was abusing minors, including
because victims told him directly they were underage. And he preyed on his victims habitually
and repeatedly—day after day, month after month, year after year.

        The defense calls these disturbing alleged acts “simple prostitution.”2 Mag. Tr. 12:12; see
also D. Tr. at 6:15-19 (“This is basically the Feds today . . . redoing the same conduct that was
investigated 10 years ago and calling it, instead of prostitution, calling it sex trafficking”). That
characterization is not only offensive but also utterly irrelevant given that federal law does not
recognize the concept of a child prostitute—there are only trafficking victims—because a child
cannot legally consent to being exploited. Defense counsel’s repeated assertion that the
Government’s case is infirm because no threats or coercion are alleged—e.g., Mag. Tr. at 12
(“There was no coercion. There were no threats. There was no violence.”), 17 (“there was no
coercion. There was no intimidation. There is no deception.”); Release Motion at 2 (“There are
no allegations . . . that he forced, coerced, defrauded, or enslaved anybody . . . .”)—is equally
irrelevant because the offense with which the defendant has been charged requires no such proof.
See, e.g., United States v. Afyare, 632 F. App’x 272, 278 (6th Cir. 2016) (“We hold that § 1591(a)
criminalizes the sex trafficking of children (less than 18 years old) with or without any force, fraud,
or coercion, and it also criminalizes the sex trafficking of adults (18 or older), but only if done by
force, fraud, or coercion.”).

       Far more important, the defense has already effectively conceded that the Government will
be able to present evidence of the actual primary elements of the charged offense—i.e., that the
defendant engaged in sex acts for money with girls he knew were underage. See Release Motion
at 2. On this record, the Government agrees with Pretrial Services that the defendant should be
detained pending trial. He poses a tremendous risk of flight and a danger to the community, and
he cannot overcome the statutory presumption in favor of detention in this case.




1
 Such arguments are unsurprising from a defendant who previously compared himself to a “person
who steals a bagel” or a tragic mythical figure. See, e.g., Amber Southerland, Billionaire Jeffrey
Epstein: I’m a sex offender, not a predator, N.Y. Post (2011) (“‘I’m not a sexual predator, I’m an
“offender,” the financier told The Post yesterday. ‘It’s the difference between a murderer and a
person who steals a bagel.’”); Philip Weiss, The Fantasist, NY Magazine (2007) (“‘It’s the Icarus
story, someone who flies too close to the sun,’ I said. ‘Did Icarus like massages?’ Epstein asked.”).
2
 “Mag. Tr.” refers to the transcript of the hearing before Magistrate Judge Pitman on July 8, 2019;
“D. Tr.” refers to the transcript of the hearing before this Court on July 8, 2019.
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                                           ARGUMENT

      The Government respectfully submits that the defendant cannot overcome the statutory
presumption in favor of detention in this case for the following reasons, among others:

     I.    Victims Seek Detention

       Pursuant to the Crime Victims’ Rights Act (“CVRA”), a crime victim has the right to be
reasonably heard at certain public proceedings in the district court, including proceedings
involving release. 18 U.S.C. § 3771(a)(4). Consistent with that requirement, the Government has
been in contact with victims and counsel identified through this investigation in connection with
the argument regarding bail.

        Multiple victims and/or their counsel have asked the Government to seek detention (and to
inform the Court of their views in that respect) for multiple reasons. First, they believe that the
defendant’s continued detention is necessary under the CVRA’s right to be reasonably protected
from the accused. 18 U.S.C. § 3771(a)(1). They have specifically conveyed to the Government
that they would be fearful for their safety if the defendant were released. For the reasons articulated
herein, the Government believes those concerns to be well-founded.

        Additionally, certain victims have asked the Government to advise the Court that they are
specifically concerned about the defendant’s proposal to be released even if under conditions that
included home detention and full-time private guards. They believe it would be unfair to victims
of a wealthy defendant, like Epstein, if he were to be given greater freedoms than others would be
in similar circumstances, and that such an arrangement would be inconsistent with their rights.
They specifically asked the Government to advise the Court that they believed such an arrangement
could result in harassment and abuse by the defendant. 3

    II.    The Defendant’s Proposal Does Nothing to Mitigate His Flight Risk

        Each of the relevant factors to be considered as to flight risk—the nature and circumstances
of the offense, the strength of the evidence, and the history and characteristics of the defendant—
counsel strongly in favor of detention, and the defendant’s proposed package would do nothing
whatsoever to mitigate those risks.

          A. Defendant Proposes No Infringement Upon His Ability to Use his Vast Wealth to Flee

        It might not be immediately apparent to a reader of the Release Motion that the defendant
is extravagantly wealthy and worth, according to records relating to the defendant recently
obtained by the Government from a financial institution (“Institution-1”), more than $500 million.



3
  The Government is aware of at least one additional attorney for a victim who has publicly stated
that her client supports the pretrial detention of the defendant. The Government is unaware of any
victim who has expressed support for the defendant being granted pretrial release on bail.
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        Indeed, while the defendant has still not filled out a financial affidavit, under penalty of
perjury, in connection with his application for bail, his token effort to account for his finances
makes painfully clear the need for detention. The defendant reports having an extraordinary
amount of money in both total assets and cash or cash-equivalent holdings. And while the
defendant repeatedly represents in his Release Motion that his assets are “in the United States,”
there is absolutely nothing in the defendant’s minimal financial submission to verify that.

        Indeed, and as discussed further below, even assuming the defendant’s assets are presently
in the United States, nothing in the proposed package would prevent the defendant from
transferring liquid assets out of the country quickly and in anticipation of flight or relocation. The
defendant is an incredibly sophisticated financial actor with decades of experience in the industry
and significant ties to financial institutions and actors around the world. He could easily transfer
funds and holdings on a moment’s to places where the Government would never find them so as
to ensure he could live comfortably while a fugitive.

         But perhaps most important, even were the defendant to sacrifice literally all of his current
assets, there is every indication that he would immediately be able to resume making millions or
tens of millions of dollars per year outside of the United States. He already earns at least
$10,000,000 per year, according to records from Institution-1, while living in the U.S. Virgin
Islands, traveling extensively abroad, and residing in part in Paris, France; there would be little to
stop the defendant from fleeing, transferring his unknown assets abroad, and then continuing to do
whatever it is he does to earn his vast wealth from a computer terminal beyond the reach of
extradition.4

         That the defendant faces up to 45 years of incarceration on the current counts with which
he is charged provides the motive for him do so and is another significant factor in assessing the
risk of flight. See United States v. Jackson, 823 F.2d 4, 7 (2d Cir. 1987). So too is the strength of
the evidence, detailed above and in the Government’s Detention Memo. Indeed, that evidence,
already robust less than a week ago when the Indictment was unsealed, is growing stronger by the
day. Just since the Indictment was unsealed, several additional women, in multiple jurisdictions,
have identified themselves to the Government as having been victimized by the defendant when
they were minors. Moreover, pursuant to judicially-authorized search warrants, the Government
has discovered and seized a significant volume of photographs of nude and seminude young
women and girls in the defendant’s Manhattan residence, and is in the process of reviewing dozens
of electronic discs that contain still more such photos.5 And dozens of individuals have called the
Government in recent days to convey information regarding the defendant and the allegations



4
  As noted in the Government’s Detention Memo, the defendant is a frequent traveler and regularly
travels to and from the United States, including approximately more than 20 flights in which he
traveled to or from a foreign country since 2018 alone. Extensive international travel of this nature
further demonstrates a significant risk of flight. See, e.g., United States v. Anderson, 384 F. Supp.
2d 32, 36 (D.D.C. 2005).
5
    The Government’s review of these materials, seized earlier this week, remains ongoing.
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contained in the Indictment. All this in less than a week, and all in addition to an Indictment that
already alleges the existence of dozens of victims in New York and dozens of victims in Florida.

         B. The Proposed Bond is Inadequate to Overcome the Presumption of Detention

       The defendant’s “slate of highly restrictive” measures which purportedly “amply suffice to
secure his release” are neither highly restrictive nor amply sufficient. Rather, they are effectively
standard conditions of home confinement, monitoring, and bond unsecured by the defendant’s
assets—broken out into 14 pieces. The Government will address the most concerning and salient
elements of the defendant’s proposal below.

                1. Lack of Meaningful Bond Security

        The defendant proposes that the Court accept his Manhattan mansion as the primary
security for a personal recognizance bond of an indeterminate amount, to be co-signed by the
defendant’s brother and a friend. Release Motion at 4. This is plainly insufficient.

        As an initial matter, and as noted above, the defendant’s Manhattan mansion has been
identified in the Indictment as subject to forfeiture because it is alleged to have been used to
commit or facilitate the commission of the sex trafficking offenses charged there. See 18 U.S.C.
§ 1594(c)(1). Because the defendant would thus be likely to lose that property following a
conviction, it provides no value whatsoever as collateral. See 18 U.S.C. § 3142(g)(4) (“In
considering the conditions of release described . . . the judicial officer . . . shall decline to accept
the designation, or the use as collateral, of property that, because of its source, will not reasonably
assure the appearance of the person as required.”). And while the defendant offers to also pledge
his private jet as additional collateral, there is absolutely no reason to assume that the defendant
would not readily trade his private plane for his freedom. Indeed, the defendant, who has a net
worth of more than $500 million, by his own admission recently sold a second plane and thus
presumably has cash on hand to replace the posted aircraft without difficulty if need be.

       Nor does the proposed security of properties owned by two identified co-signers
meaningfully change the calculus. As further described below, the defendant provides no
information about the value or equity of the property of his brother, Mark (the “Palm Beach
Property”), or the significance of that property in the context of his brother’s own net worth.6
Similarly, the defendant provides no details regarding the “investment interests” of his friend Mr.
Mitchell, nor any reason to believe the loss of those “interests” would be meaningful to Mr.
Mitchell, let alone the defendant. More generally, given the defendant’s proffered net worth, the
defendant could easily make his co-signers whole – and even reward them – were he to flee.

       The proposed security, in sum, should give the Court little comfort the defendant would
appear in Court if released on bail.



6
 In fact, the defendant’s own submission makes clear that the Palm Beach Property is not his
brother’s exclusive residence and that his brother lives elsewhere for half of the year.
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               2. Co-Signers, Moral Suasion, and Ties to the Community

        The dearth of detailed financial information about the defendant himself, much less his
brother or friend, further shows the hollowness of the proposal. The Court cannot possibly
evaluate whether there would be any incentive whatsoever for those the two proposed co-signers
to exercise moral suasion over the defendant—or whether, as noted above, the defendant could
easily compensate them, perhaps many times over, for any loss they incurred through the
defendant’s flight from justice. The defendant provides no information about his brother other
than that he lives half the year in the home he purportedly would pledge, and even less information
about Mr. Mitchell, other than that he is “Mr. Epstein’s friend,” his “close personal friend of
decades,” and his “close personal friend.” Release Motion at 4, 9. Their willingness to “guarantee”
his appearance, Release Motion at 9, is meaningless in the absence of such information.

        Moreover, the notion that any individual co-signer could meaningfully secure a bond for
this defendant strains credulity. Given the defendant’s wealth and his extraordinary risk of flight,
any bond for this defendant would assuredly have to be in the hundreds of millions of dollars to
even be claimed to be sufficient to guard against the risks posed by the defendant’s release. The
defendant offers no reason to believe any co-signers could meaningfully sign such a bond, much
less these two particular individuals, which is yet another reason the proposed package is patently
insufficient.

               3. The Defendant’s “Consent” to Extradition is Unenforceable and Impractical

         The defendant’s offer to sign a so-called “consent” to extradition provides no additional
reassurance whatsoever. As an initial matter, the Government would need to find and re-arrest the
defendant before such a waiver would even come into play. Moreover, even assuming the
Government could locate and apprehend the defendant, numerous courts have recognized that such
purported waivers are unenforceable and effectively meaningless because any defendant who signs
such a purported waiver and then flees will assuredly contest the validity and/or voluntariness of
the waiver, and will get to do so in the jurisdiction of his choosing (i.e., the one to which he chose
to flee). See, e.g., United States v. Morrison, No. 16-MR-118, 2016 WL 7421924, at *4 (W.D.N.Y.
Dec. 23, 2016); United States v. Kazeem, No. 15 Cr. 172, 2015 WL 4645357, at *3 (D. Or. Aug.
3, 2015); United States v. Young, Nos. 12 Cr. 502, 12 Cr. 645, 2013 WL 12131300, at *7 (D. Utah
Aug. 27, 2013); United States v. Cohen, No. C 10-00547, 2010 WL 5387757, at *9 n.11 (N.D.
Cal. Dec. 20, 2010); United States v. Bohn, 330 F. Supp. 2d 960, 961 (W.D. Tenn. 2004); United
States v. Stroh, No. 396 Cr. 139, 2000 WL 1832956, at *5 (D. Conn. Nov. 3, 2000); United States
v. Botero, 604 F. Supp. 1028, 1035 (S.D. Fla. 1985). . The Department of Justice’s Office of
International Affairs is unaware of any country anywhere in the world that would consider an
anticipatory extradition waiver binding. And, of course, the defendant could choose to flee to a
jurisdiction with which the United States does not have an extradition treaty.

       Beyond being impossible to guarantee, extradition is typically a lengthy, complicated and
expensive process, and the possibility that it would be successful neither provides any real
deterrent to the defendant’s incentive to flee nor any measure of justice to the victims who would
be required to wait years for his return.
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                4. Home Confinement and Electronic Monitoring Provide No Assurance

         The defendant’s proposal of ankle-bracelet monitoring should be of no comfort to the
Court. In particular, the defendant’s endorsement of a GPS monitoring bracelet rather than a radio
frequency bracelet is farcical because neither one is useful or effective after it has been removed.
At best, home confinement and electronic monitoring would reduce his head start should he decide
to cut the bracelet and flee. See United States v. Zarger, No. 00 Cr. 773, 2000 WL 1134364, at *1
(E.D.N.Y. Aug. 4, 2000) (rejecting defendant’s application for bail in part because home detention
with electronic monitoring “at best . . . limits a fleeing defendant’s head start”); see also United
States v. Casteneda, No. 18 Cr. 047, 2018 WL 888744, at *9 (N.D. Cal. Feb. 2018) (same); United
States v. Anderson, 384 F. Supp.2d 32, 41 (D.D.C. 2005) (same); United States v. Benatar, No. 02
Cr. 099, 2002 WL 31410262, at *3 (E.D.N.Y. Oct. 10, 2002) (same).

                5. Private Security is Inadequate, Unfair, and Impractical Here

       The defendant also proposes the use of a private security force to march him to and from
court under the threat of deadly force. This proposal should be rejected.

         At the outset, it is far from clear that private jail, which seeks to replicate the conditions of
a government-run detention facility in the defendant’s home, is a condition of “release” that
implicates the Bail Reform Act. “[T]here is a debate within the judiciary over whether a defendant,
if she is able to perfectly replicate a private jail in her own home at her own cost, has a right to do
so under the Bail Reform Act and the United States Constitution.” United States v. Valerio, 9 F.
Supp. 3d 283, 292 (E.D.N.Y. 2014) (Bianco, J.) (collecting cases). The Second Circuit has never
directly addressed this issue. See United States v. Sabhnani, 493 F.3d 63, 78 n.18 (2d Cir. 2007)
(“The government has not argued and, therefore, we have no occasion to consider whether it would
be ‘contrary to the principles of detention and release on bail’ to allow wealthy defendants ‘to buy
their way out by constructing a private jail.” (citations omitted)). Indeed, a decision by this Court
reasoned that “the very severe restrictions” in the private jail proposal presented to him did “not
appear to contemplate ‘release’ so much as it describes a very expensive form of private jail or
detention.” United States v. Zarrab, 2016 WL 3681423, at *10 (S.D.N.Y. June 16, 2016).

         Courts have long been troubled by private jail proposals like the defendant’s which, “at
best ‘elaborately replicate a detention facility without the confidence of security such a facility
instills.’” United States v. Orena, 986 F.2d 628, 632 (2d Cir. 1993) (quoting United States v. Gotti,
776 F. Supp. 666, 672 (E.D.N.Y. 1991) (rejecting private jail proposal)); see also Valerio, 9 F.
Supp. 3d at 295 (“The questions about the legal authorization for the private security firm to use
force against defendant should he violate the terms of his release, and the questions over whether
the guards can or should be armed, underscore the legal and practical uncertainties—indeed, the
imperfections—of the private jail-like concept envisioned by defendant, as compared to the more
secure option of an actual jail.”). A private security firm simply cannot replicate the controlled
environment of a federal correctional facility, in which, typically, all of the needs to the prisoner
can be attended to without placing the prisoner in the community at large; the defendant’s proposed
private jail arrangement would have the effect of permanently placing him in just such a high-
flight-risk circumstance. The risk of a public escape attempt while in the community and involving
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armed private guards attempting to stop the defendant, potentially by force—rather than the
defendant being in the environment of a federal facility—also greatly magnifies the danger of the
defendant’s flight to the public. See United States v. Boustani, 356 F. Supp. 3d 246, 257 (E.D.N.Y.
2019). “This is why, as the Government correctly notes, federal prisoners should be detained in
facilities run by trained personnel from federal correctional facilities.” Id. at 258 (citing Sabhnani,
493 F.3d at 74 n.13 (“To the extent [armed private guards] implies an expectation that deadly force
may need to be used to assure defendant['s] presence at trial ... [s]uch a conclusion would, in fact,
demand a defendant's detention”)).

         The Second Circuit has held it is not legal error “for a district court to decline to accept,”
as “a substitute for detention,” a defendant hiring private security guards to monitor him. United
States v. Banki, 369 Fed. App’x 152, 153-54 (2d Cir. 2010). In the same decision, the Second
Circuit noted that it was “troubled” by the possibility of “allow[ing] wealthy defendants to buy
their way out by constructing a private jail.” (internal quotation marks omitted)). Id.; accord, e.g.,
United States v. Cilins, No. 13 Cr. 315 (WHP), 2013 WL 3802012, at *3 (S.D.N.Y. July 19, 2013)
(“‘it is contrary to underlying principles of detention and release on bail that individuals otherwise
ineligible for release should be able to buy their way out by constructing a private jail, policed by
security guards not trained or ultimately accountable to the Government, even if carefully
selected’” (quoting Borodin v. Ashcroft, 136 F. Supp. 2d 125, 134 (E.D.N.Y. 2001))); Valerio, 9
F. Supp. 3d at 293-94 (E.D.N.Y. 2014) (“There is nothing in the Bail Reform Act that would
suggest that a defendant (or even, hypothetically, a group of defendants with private funding) has
a statutory right to replicate or construct a private jail in a home or some other location.”).

        The defendant’s payment of his guards also raises the conflict of interest inherent in having
the defendant having extraordinary influence over a private security company tasked with guarding
him, leaving the company’s incentives entirely aligned with the defendant. See, e.g., Boustani,
356 F. Supp. 3d at 257 (in finding that private armed guards would not reasonably assure the
appearance of a defendant, noting a “clear conflict of interest—private prison guards paid by an
inmate” and noting that in a recent S.D.N.Y. case involving private security guards the defendant
“was outside of his apartment virtually all day, every weekday; was visited by a masseuse for a
total of 160 hours in a 30-day period; and went on an unauthorized visit to a restaurant in
Chinatown with his private guards in tow”); see also United States v. Tajideen, 17 Cr. 046, 2018
WL 1342475, at *5-6 (D.D.C. Mar. 15, 2018) (finding Zarrab “particularly instructive” and further
noting: “While the Court has no reason to believe that the individuals selected for the defendant's
security detail would intentionally violate federal law and assist the defendant in fleeing the Court's
jurisdiction, it nonetheless is mindful of the power of money and its potential to corrupt or
undermine laudable objectives. And although these realities cannot control the Court's ruling, they
also cannot be absolutely discounted or ignored.”).

       Finally, in Zarrab this Court found that “the Defendant’s privately funded armed guard
proposal is unreasonable because it helps to foster inequity and unequal treatment in favor of a
very small cohort of criminal defendants who are extremely wealthy, such as Mr. Zarrab.” 2016
WL 3681423, at *13; see also Boustani, 356 F. Supp. 3d at 258 (“although this Defendant has vast
financial resources to construct his own ‘private prison,’ the Court is not convinced ‘disparate
treatment based on wealth is permissible under the Bail Reform Act’”) (quoting United States v.
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Bruno, 89 F. Supp. 3d 425, 432 (E.D.N.Y. 2015) (“”Even if Defendant had the financial capacity
to replicate a private jail within his own home, this Court is not convinced that such a set of
conditions would be sufficiently effective in this case to protect the community from Defendant,
or that such disparate treatment based on wealth is permissible under the Bail Act.”)); Borodin,
136 F. Supp. 2d at 134 (E.D.N.Y. 2001) (Nickerson, J.) (“It is contrary to underlying principles of
detention and release on bail that individuals otherwise ineligible for release should be able to buy
their way out by constructing a private jail, policed by security guards not trained or ultimately
accountable to the government, even if carefully selected.”).

        If the defendant’s appearance can only be assured through use of round-the-clock guards,
the defendant belongs in a federal detention center, not released under bail conditions that
effectively create a private prison of one, using guards to be paid by the defendant himself. It is
frankly outrageous for the defendant to suggest that preventing him from using his vast wealth to
duplicate a private prison that cannot control, monitor, and contain him consistent with the
requirements of the Bail Act would cause him to somehow “bear a special disadvantage.” Release
Motion at 12 n.9. Indeed: “What more compelling case for an order of detention is there than a
case in which only an armed guard and the threat of deadly force is sufficient to assure the
defendant’s appearance?” Zarrab, 2016 WL 3681432, at *12 (quoting United States v. Valerio, 9
F. Supp. 3d at 295).

III.     The Defendant Provides No Assurance He is Not a Danger to the Community and a
         Risk to Obstruct Justice

       A. Danger to the Community

        In the first instance, the defendant’s argument that 14 years without a criminal conviction
eliminates “any danger presumption” should be rejected. Were that the case—which is certainly
is not—a lack of criminal record for any defendant would automatically rebut the presumption
applicable to crimes such as sex trafficking. That is manifestly incorrect. See United States v.
Artis, 607 F. App’x 95, 97 (2d Cir. 2015) (finding that a defendant’s lack of criminal record was
“not so compelling as to defeat the presumption or to manifest clear error in the district court’s
determination that no combination of release conditions . . . could reasonably assure against
dangerousness and the risk of flight”). Moreover, here, the defendant not only has a criminal
record, but has been convicted of a sex crime involving a minor.

        But the ongoing and forward-looking danger posed by the defendant is further
demonstrated by the defendant’s maintenance of a substantial collection of photographic trophies
of his victims and other young females in his mansion, as discovered by the Government through
its search warrants. As indicated in the Detention Memo, the many discs found in the defendant’s
residence included those with hand-written labels including the following: “Young [Name] +
[Name],” “Misc nudes 1,” and “Girl pics nude.” Not surprisingly, the Government has found that
such discs contain photographs of sexually suggestive photographs of fully- or partially-nude
females appearing to be underage.
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       B. Danger to Obstruct Justice

       The defendant has also already demonstrated a willingness to use intimidation and
aggressive tactics in connection with a criminal investigation. Far from being “musty,” Release
Motion at 6 n.6, the defendant’s past behavior in connection with being investigated for sexually
abusing children is the best predictor of his likely incentives and activities in connection with being
charged with sexually abusing children. For example, in the incident the defendant now claims
was not attributable to or authorized by him, the contemporaneous police report indicates that
pressure tactics were at the very least coordinated closely with individuals in the defendant’s orbit.
See Palm Beach Police Report (the “Police Report”) (Ex. B). According to the Police Report, the
parent of one of the defendant’s victims was driven off the road by a private investigator. The
Police Report provides further information regarding victim and witness threats and intimidation
reported against an individual who was directly in contact with an assistant of the defendant,
followed “immediately” by a call to that same individual from a phone number associated with the
defendant’s businesses and associates.

        Separately, and in addition, there are also extensive allegations of obstruction and
tampering in connection with civil lawsuits brought against the defendant following his 2008
conviction. See Doe v. United States, 08 Civ. 80736 (S.D. Fla.), Dkt. 291-15 at 21-23, 31.
Moreover, police reports suggest that an associate of Epstein’s was offering to buy victims’ silence
during the course of the prior investigation. Specifically, one victim reported that “she was
personally contacted through a source that has maintained contact with Epstein,” who “assured
[the victim] that she would receive monetary compensation for her assistance in not cooperating
with law enforcement.” Indeed, the victim reported having been told: “Those who help him will
be compensated and those who hurt him will be dealt with.” See Palm Beach Police Report
(Ex. C).

        And Epstein’s efforts to influence witnesses continue to this day. As in the past, within
recent months. he paid significant amounts of money to influence individuals who were close to
him during the time period charged in this case and who might be witnesses against him at a trial.
By way of background, on or about November 28, 2018, the Miami Herald began publishing a
series of articles relating to the defendant, his conduct, and the circumstances of his prior
conviction and the non-prosecution agreement (“NPA”). Records obtained by the Government
from Institution-1 appear to show that just two days later, on or about November 30, 2018, the
defendant wired $100,000 from a trust account he controlled to an individual named as a possible
co-conspirator in the NPA. The same records appear to show that just three days after that, on or
about December 3, 2018, the defendant wired $250,000 from the same trust account to another
individual named as a possible co-conspirator in the NPA and also identified as one of the
defendant’s employees in the Indictment. Neither of these payments appears to be recurring or
repeating during the approximately five years of bank records presently available to the
Government. This course of action, and in particular its timing, suggests the defendant was
attempting to further influence co-conspirators who might provide information against him in light
of the recently re-emerging allegations
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IV.        The Defendant Raises Legal Arguments Not Relevant Here

        Finally, the defendant raises certain legal arguments he contends he will litigate at the
appropriate stage and which he further suggests mitigate in favor of bail. None is meritorious, and
certainly none should give the Court any comfort whatsoever that the defendant would, if granted
bail, refrain from fleeing so he could attempt to vindicate himself via dubious legal strategies.
Nevertheless, the Government will address the defendant’s arguments briefly in turn.

         A. The Non-Prosecution Agreement Does Not Preclude Prosecution

       As an initial matter, as the Court itself noted at the parties’ initial appearance earlier this
week, and as the defendant appears to concede, the instant Indictment charges conduct well beyond
the scope of the NPA – that is, alleged conduct that occurred here in New York and involving New
York based victims. D. Tr. 6-8; Release Motion at 2. For present purposes, that alone is sufficient
to put this issue to rest, because even assuming the defendant were to mount a meritorious
challenge to the NPA, he would still have to stand trial on Count Two of the Indictment and
additional charges brought based on New York conduct.

        But more generally, the reasons the defendant can be prosecuted in the Southern District
of New York—or anywhere else outside the SDFL—are manifold. The language of the NPA
overwhelmingly refers to the SDFL, and the core terms and text of the agreement are limited to
the SDFL. The prefatory language states: “THEREFORE, on the authority of R. Alexander
Acosta, United States Attorney for the Southern District of Florida, prosecution in this District for
these offenses shall be deferred in favor of prosecution by the State of Florida.” 7 The final
paragraph of the prefatory language also states, among other things, that after fulfilling the terms
of the agreement, “no prosecution for the [sex abuse] offenses set out on pages 1 and 2 of this
Agreement, nor any other offenses that have been the subject of the joint investigation by the
Federal Bureau of Investigation and the United States Attorney’s Office, nor any offenses that
arose from the Federal Grand Jury investigation will be instituted in this District.”

         In its terms section, the NPA further states that Epstein’s signature “is not to be construed
as an admission of civil or criminal liability or a waiver of any jurisdictional or other defense” as
to any victim whose identity was not disclosed by SDFL to Epstein, as provided for in the NPA,
and additionally states that neither Epstein’s signature nor any resulting waivers or civil
settlements “are to be construed as admissions or evidence of civil or criminal liability or a waiver
of any jurisdictional or other defense as to any person.” These provisions show the parties
contemplated possible criminal prosecutions in other jurisdictions and/or based on victims not
initially identified in the Florida investigations (whether in Florida or elsewhere). The final
substantive paragraph of the NPA states that “Epstein hereby requests that the United States
Attorney for the Southern District of Florida defer [. . .] prosecution.”

       It is well settled in the Second Circuit that “a plea agreement in one U.S. Attorney’s office
does not, unless otherwise stated, bind another.” United States v. Prisco, 391 F. App’x 920, 921

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    All emphases relating to the NPA are added unless otherwise specified.
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(2d Cir. 2010) (“A plea agreement binds only the office of the United States Attorney for the
district in which the plea is entered unless it affirmatively appears that the agreement contemplates
a broader restriction.”) (citing United States v. Annabi, 771 F.2d 670, 672 (2d Cir. 1985) (per
curiam)). Moreover, any references in an NPA to the “Government” or the “United States” do not
abrogate these principles. Annabi, 771 F.2d at 672 (“[A] plea agreement whereby a federal
prosecutor agrees that ‘the Government’ will dismiss counts of an indictment . . . might be thought
to bar the United States from reprosecuting the dismissed charges in any judicial district unless the
agreement expressly limits the scope of the agreement . . . . However, the law has evolved to the
contrary.”). “The mere use of the term ‘government’ in the plea agreement does not create an
affirmative appearance that the agreement contemplated barring districts other than the particular
district entering into the agreement.” United States v. Salameh, 152 F.3d 88, 120 (2d Cir. 1998)
(citations and internal quotation marks omitted); see also United States v. Brown, No. 99-1230,
2002 WL 34244994, at *2 (2d Cir. Apr. 26, 2002) (in analyzing an SDFL plea agreement,
reiterating the holding of Annabi and noting that it applies “even if the plea agreement purports to
bind ‘the Government’” or the “United States”) (summary order); United States v. Bruno, 159 F.
Supp. 3d 311, 321 (E.D.N.Y. 2016) (“The Court disagrees with Defendant’s argument that the
phrase ‘United States’ shows an intent to bind all United States Attorney’s Offices. Rather, the
plea agreement covers only Defendant’s liability in the SDFL.”). 8

       In sum, this issue is a distraction that has little relevance to the bail determination and does
nothing to address the defendant’s risk of flight or mitigate the danger he poses to the community.

         B. The Defendant Wrongly Argues the Statute Does Not Apply to His Sex Trafficking

        Next, the defendant wrongly argues that the “principal conduct” giving rise to the charges
is his payment of underage girls for sex acts, and that such conduct could not possibly fall under
the charged statutes. As the defendant implicitly concedes, Release Motion at 14, this is an issue
for a motion to dismiss. Nevertheless, the defendant’s argument is incorrect for two reasons.

        First, although the defendant undoubtedly participated on the demand side of the crime, he
was also instrumental on the supply side given his role in recruiting and causing others to recruit
additional victims. He organized, funded, and perpetuated a sex trafficking scheme in two states,
including with co-conspirators. The fact that he did so for his own eventual and frequent sexual
gratification does not vitiate his role in enticing and recruiting victims, consistent with the elements
of the offense with which he is charged. The defendant was the leader of a sex-trafficking
enterprise, not a mere consumer.



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  This analysis similarly extends to a non-prosecution agreement. See United States v. Laskow,
688 F. Supp. 851, 854 (E.D.N.Y. 1988) (“Defendant’s argument, in effect, is that unless there is
an explicit statement to the contrary, it is presumed that a non-prosecution agreement binds offices
of the United States Attorney that are not parties to the agreement. This position is at odds with
the law in this Circuit, which presumes a narrow reading of the boundaries of a plea agreement
unless a defendant can affirmatively establish that a more expansive interpretation was
contemplated.”) (citing Annabi, 771 F.2d at 672).
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        Second, he is also wrong on the law. Courts have found that Section 1591 applied to both
suppliers and consumers of commercial sex acts. See, e.g., United States v. Jungers, 702 F.3d
1066, 1069 (8th Cir. 2013) (upholding the conviction of a defendant who attempted to pay for oral
sex from an underage girl and explaining: “The sole issue raised on appeal is whether ‘[t]he plain
and unambiguous provisions of 18 U.S.C. § 1591 apply to both suppliers and consumers of
commercial sex acts.’ We conclude they do.”) (alteration in original). The lone case cited by the
defendant, Fierro v. Taylor, No. 11 Civ. 8573, 2012 WL 13042630 (S.D.N.Y. July 2, 2012), relied
heavily on the statutory interpretation undertaken by two district courts in the District of South
Dakota, United States v. Bonestroo, No. 11 Cr. 40016, 2012 WL 13704 (D.S.D. Jan. 4, 2012), and
United States v. Jungers, 11 Cr. 40018, 2011 WL 6046495 (D.S.D. Dec. 5, 2011), both of which
were explicitly overruled by the Eighth Circuit decision in Jungers, 702 F.3d 1066. In the seven
years since Fierro has been decided, it does not appear to have been cited by a single other court.
Additionally, other cases in this Circuit and elsewhere have upheld convictions of procurers or
customers. See United States v. O’Connor, 650 F.3d 839 (2d Cir. 2011) (upholding convictions
under Section 1591 of both the buyer and seller of a child); United States v. Cook, 782 F.3d 983
(8th Cir. 2015) (rejecting a constitutional challenge that Section 1591 would be void for vagueness
if applied to purchasers); United States v. Mikoloyck, No. 09 Cr. 036, 2009 WL 4798900 (W.D.
Mo. Dec. 7, 2009) (“contrary to defendant’s argument, 18 U.S.C. § 1591 clearly applies to those
who attempt to purchase underage sex, not merely the pimps of actual exploited children”) (citing
United States v. Roberts, 174 F. App’s 475 (11th Cir. 2006) (in which defendant was convicted
under sections 1591(a) and 1594(a) even though no actual children were involved)).

                                         CONCLUSION

        As set forth above, the defendant’s proposed bail package is insufficient and insubstantial.
Pretrial Services, victims, and the Government all recommend pretrial detention due to the unusual
and concerning confluence of factors in this case, including the defendant’s extraordinary wealth,
demonstrated willingness to interfere with victims and witnesses, continued possession of lewd
photographs of young females, and both the incentive and means to flee prosecution.

                                                    Very truly yours,

                                                    GEOFFREY S. BERMAN
                                                    United States Attorney


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